O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                           for the
                                                        Western District of North Carolina

                     United States of America                                )
                                v.                                           )
                                                                             )   Case No: 5:99CR00011-13
                       Maurice Anthwan Sims
                                                                             )   USM No: 13974-058
Date of Previous Judgment: 12/16/1999                                        )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                            )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33                Amended Offense Level:                                              31
Criminal History Category: VI                Criminal History Category:                                          VI
Previous Guideline Range:  235 to 293 months Amended Guideline Range:                                            188       to 235   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): The Court finds that the defendant is subject to the 2007 retroactive Crack Cocaine Amendment and
                          therefore, eligible for a sentence reduction. Consistent with 18 U.S.C. § 3582(c)(2), the Court considered the
                          factors set forth in 18 U.S.C. § 3553(a), as well as public safety and post-sentence conduct. Based on these
                          factors the Court finds that a reduction of the defendant's sentence would not accomplish the goals of
                          sentencing.

III. ADDITIONAL COMMENTS
The defendant is eligible for the retro active reduction. However, the defendant has a long criminal history including numerous
drug and violent offenses. He has had seven disciplinary actions while in custody, four of which were violent. The defendant's
original sentence was 61% of the low end of the original guideline range, so he received a significant reduction for his cooperation.


Except as provided above, all provisions of the judgment dated                       12/16/1999         shall remain in effect.
IT IS SO ORDERED.

Order Date:          June 20, 2008


Effective Date: June 30, 2008
                       (if different from order date)


               Case 5:99-cr-00011-KDB-DCK                                Document 406          Filed 06/20/08       Page 1 of 2
Case 5:99-cr-00011-KDB-DCK   Document 406   Filed 06/20/08   Page 2 of 2
